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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6
     Attorney for Defendant
 7   BEVERLY LATTICE BARRON
 8
 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. 2:07-cr-0236 FCD
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     STATUS CONFERENCE DATE
16                                   )
     BEVERLY LATTICE BARRON,         )
17                                   )     Date: April 14, 2008
                    Defendant.       )     Time: 10:00 a.m.
18                                   )     Judge: Hon. Frank C. Damrell Jr.
     _______________________________ )
19
20        Beverly Lattice Barron, by and through her counsel, Caro Marks,
21   and the United States of America, by and through its counsel, Jason
22   Hitt, hereby agree and stipulate to continue the current status
23   conference date of March 17, 2008 to April 14, 2008 at 10:00a.m.      The
24   parties stipulate that the ends of justice are served by the Court
25   excluding such time, so that counsel for the defendant may have
26   reasonable time necessary for effective preparation, taking into
27   account the exercise of due diligence.       18 U.S.C. § 3161(h)(8)(B)(iv).
28   The parties stipulate and agree that the interests of justice served by
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 1   granting this continuance outweigh the best interests of the public and
 2   the defendant in a speedy trial.         18 U.S.C. § 3161(h)(8)(A).
 3        Specifically, this continuance is requested to allow counsel
 4   additional time to pursue their investigations under Chapter 5K of the
 5   U.S. sentencing guidelines.        Counsel for the government and defense
 6   were in trial most of January and February, and need additional time to
 7   resolve the case.      Therefore, the parties agree this is a necessary
 8   continuance.
 9        IT IS STIPULATED that the period from the signing of this Order up
10   to and including April 14, 2008 be excluded in computing the time
11   within which trial must commence under the Speedy Trial Act, pursuant
12   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for preparation of
13   counsel.
14
15   Dated:     March 10, 2008
                                               Respectfully submitted,
16
                                               DANIEL J. BRODERICK
17                                             Federal Defender
18
                                               /s/ Caro Marks
19                                             ________________________________
                                               CARO MARKS
20                                             Attorney for Defendant
                                               BEVERLY LATTICE BARRON
21
                                               /s/ Jason Hitt
22                                             ________________________________
                                               Jason Hitt
23                                             Assistant United States Attorney
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     Name of Pleading                         -2-
              Case 2:07-cr-00236-KJM Document 28 Filed 03/12/08 Page 3 of 3


 1                                           ORDER
 2        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 3   ordered that the March 17, 2008, status conference hearing be continued
 4   to April 14, 2008, at 10:00 a.m.         Based on the representation of
 5   defense counsel and good cause appearing there from, the Court hereby
 6   finds that the failure to grant a continuance in this case would deny
 7   defense counsel reasonable time necessary for effective preparation,
 8   taking into account the exercise of due diligence.            The Court finds
 9   that the ends of justice to be served by granting a continuance
10   outweigh the best interests of the public and the defendant in a speedy
11   trial.    It is ordered that the time up to, and including, the April 14,
12   2008 status conference shall be excluded from computation of time
13   within which the trial of this matter must be commenced under the
14   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv) and
15   Local Codes T-4 and E, to allow defense counsel reasonable time to
16   prepare.
17        IT IS SO ORDERED.
18   DATED: March 11, 2008
19                                             ________________________________
                                               FRANK C. DAMRELL Jr.
20                                             United States District Judge
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     Name of Pleading                         -3-
